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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA

                                 MEMORANDUM


Honorable Lawrence K. Karlton
Senior United States District Judge
Sacramento, California

                                         RE:   Natosha SAUNDERS
                                               Docket Number: 2:07CR00056-03
                                               ORDER RE CONTINUATION OF INITIAL
                                               APPEARANCE

Your Honor:

On October 7, 2008, Your Honor signed a probation violation petition on the above named
offender, placing the matter on the Court's calendar for Tuesday, November 4, 2008, at
9:15 a.m. The probation officer was ordered to notify the defendant and counsel of said
hearing.

On October 8, 2008, the undersigned attempted to serve the offender with the petition and
notify her of her scheduled court date. The offender indicated that she would not be able
to be present at this court date due to the fact that her newborn baby had a doctor’s
appointment on that date. The offender, however, was amenable to a court date later in
the month of November. Consequently, this officer is requesting the Court continue the
presently scheduled initial appearance on the probation violation petition scheduled for
November 4, 2008, at 9:15 a.m. to November 12, 2008, at 9:15 a.m.

Should Your Honor have any additional questions, the undersigned can be reached at
(916) 930-4308.

                                Respectfully submitted,


                               /s/Matthew M. Faubert
                              MATTHEW M. FAUBERT
                        Senior United States Probation Officer


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RE:      Natosha SAUNDERS
         Docket Number: 2:07CR00056-03
         CONTINUATION OF INITIAL APPEARANCE



Dated:            October 14, 2008
                  Sacramento, California
                  MMF/cp


REVIEWED BY:            /s/Kyriacos M. Simonidis
                        KYRIACOS M. SIMONIDIS
                        Supervising United States Probation Officer



cc:      Assistant United States Attorney
         Federal Defender's Office




ORDER OF THE COURT:

[ U]     The initial appearance on the probation violation petition filed on October 7, 2008,
         presently scheduled for November 4, 2008, at 9:15 a.m. is continued to
         November 12, 2008, at 9:15 a.m.

[]       Case shall remain on calendar as previous ordered.

[]       Other:


October 15, 2008
DATE




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